      Case 2:17-cv-00469-NF-KHR Document 113 Filed 01/08/20 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW MEXICO

AL-RASHAAD R. CRAFT,

               Plaintiff,

v.                                                           No. 2:17-cv-00469-NF-KHR

AHMAD WHITE, in his individual capacity,

               Defendant.

             DEFENDANT’S RESPONSE TO ORDER TO SHOW TO CAUSE

       COMES NOW Defendant Ahmaad White, by and through his counsel of record, Atwood,

Malone, Turner & Sabin, P.A. (by Bryan Evans and Renee Gantert), and hereby submits this

Response to the Court’s Order to Show Cause, entered in this action on January 6, 2020. Defendant

had prepared a Motion to Stay and intended to file it at or around the time it filed its Docketing

Statement. However, in light of this Court’s Show Cause Order, Defendant will simply state that

it agrees with the Court that a stay of these proceedings is warranted while Defendant’s appeal is

pending.

       It is presently unknown to this counsel whether Plaintiff will object to a stay. If Plaintiff

does object, Defendant respectfully requests the opportunity to respond to any such objections.

                                      Respectfully submitted,

                                      ATWOOD, MALONE, TURNER & SABIN, P.A.

                                      /s/ Bryan Evans
                                      Bryan Evans
                                      K. Renee Gantert
                                      P.O. Drawer 700
                                      Roswell, NM 88202-0700
                                      (575) 622-6221
                                      Attorneys for Defendant




                                                1
         Case 2:17-cv-00469-NF-KHR Document 113 Filed 01/08/20 Page 2 of 2




I HEREBY CERTIFY that on January 8, 2020,
I filed the foregoing instrument electronically
through the Court’s Electronic Filing system,
which caused all parties of record to be served
by electronic means, as more fully reflected on
the Notice of Electronic Filing.

/s/ Bryan Evans
Bryan Evans




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